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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   NOVASIVE, INC.,                                  )
                                                    )
                    Plaintiff,                      )
    v.                                              ) 6:17-cv-2206-0rl-41GJK
                                                    )
    ABSOLUTE MEDICAL, LLC, GREG                     )
    SOUFLERJS, and DAVE HAWLEY,                     )
                                                    )
                    Defendants.                     )
                                                    )

         ABSOLUTE MEDICAL SYSTEMS, LLC'S RESPONSES AND OBJECTIONS TO
         PLAINTIFF'S SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
          OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVL ACTION

                                   I.   PRELIMINARY STATEMENT

           Pursuant to rule 45(c)(2)(B) of the Federal Rules of Civil Procedure (the "Federal

    Rules"), ABSOLUTE MEDICAL SYSTEMS, LLC ("Nonparty") hereby responds and

    objects to the Subpoena dated April 11, 2018, served upon it by NUVASIVE, INC

    ("Plaintiff' or "NuVasive") (the "Subpoena"), as follows:

           Nonparty has conducted a diligent search and reasonable inquiry in response to the

    Subpoena and Requests for Documents.         Its objections to the Subpoena and Requests for

    Documents are based upon information currently known to Nonparty and are given without

    prejudice to Nonparty's right to revise, correct, supplement, add to, amend, or clarify its

    objections to the Subpoena when and if additional information or documentation comes to its

    attention. Moreover, Nonparty expressly reserves the right to make use of, or introduce at any

    hearing, documents or facts not known to exist at the time of production, including, without

    limitation, documents obtained in the course of discovery in this Action.




                                                                                                EXHIBIT
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            Nonparty's Objections to the Subpoena or its production of any documents shall not be

    construed as: (i) an admission as to the relevance, admissibility, or materiality of any such

    documents or their subject matter; (ii) a waiver or abridgment of any applicable privilege; or (iii)

    an agreement that requests for similar documents will be treated similarly.

            Further, Nonparty reserves all of its rights, including its right to supplement, amend, or

    correct any of its Objections to the Subpoena and its right to object to the admissibility of any

    part of any document produced in response to any Request or information contained in any such

    document.

                                      II.    GENERAL OBJECTIONS


            Without in any way limiting the Preliminary Statement set forth above, Nonparty asserts

    the following general objections:

          1.        Nonparty objects to the Subpoena in its entirety to the extent that it is

    overbroad or purports to impose obligations upon it that exceed those set forth in Rules 26,

    34 and 45 of the Federal Rules of Civil Procedure, the Case Management Order entered in

    this case, or any other applicable statute, rule, or order.

          2.        Nonparty objects to the Subpoena in its entirety to the extent that it purports

    to call for the disclosure of information, or the production of documents, that are subject to

    the attorney work product protection, the attorney-client privilege, or any other applicable

    privilege, including privileged information or documents shared with entities with which

    Nonparty holds or held a common interest.

          3.        Nonparty asserts such privileges and objects to the provision of information

    or production of any documents subject thereto. To the extent that any production of

    documents or information is made, any inadvertent production of such privileged documents
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        or information in response to the Subpoena would not be intended to constitute a waiver of

        any applicable privilege or protection. Nonparty demands that Plaintiff, its agents and

        attorneys, notify N onparty' s undersigned counsel of the production of any such documents

        immediately upon discovery of such documents, and return such documents to such

        undersigned counsel upon request.

              4.       Nonparty objects to the Subpoena in its entirety to the extent it purports to

        call for the disclosure of information, or the production of documents, that are part of a

        category of documents subject to the attorney work product protection, the attorney-client

        privilege, or any other applicable privilege, including privileged information or documents

        shared with parties for whom Nonparty serves in a distributor capacity.

              5.       Nonparty objects to the Subpoena in its entirety to the extent that it purports

(       to require the production of documents that are not in its possession, custody, or control.
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              6.       No Objection or limitation, or lack thereof, or statement that Nonparty will

        produce documents made these Objections constitutes an admission as to the existence or

        nonexistence. of documents or information by Nonparty.

              7.        Nonparty objects to the Subpoena in its entirety to the extent that it is vague

        ambiguous confusing, and contrary to the plain meaning of the terns involved.

              8.       Nonparty objects to the Subpoena in its entirety to the extent that it purports to

        call for the disclosure of information, or the production of documents, that are subject to the

        terms of the Case Management Order.

              9.       Nonparty objects to the Subpoena in its entirety to the extent that it is outside the

        scope of this action as they have no relation to the claims and defenses raised in this litigation in
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        that it seeks the disclosure of information, or the production that are inadmissible and constitute

        material protected from disclosure pursuant to the Case Management Order.

              10.      Nonparty objects to the Subpoena in its entirety to the extent that it is not

        reasonably calculated to lead to the discovery of admissible evidence in that the information

        sought would not be admissible pursuant to Federal Rule of Evidence 408.

              11.      Nonparty objects to the Subpoena in its entirety to the extent entirety to the extent

        that it calls for the document-by-document identification within thirty days of service of the

        Subpoena of those documents that are protected by the attorney-client privilege, common interest

        privilege, and work product protection as seeking to impose obligations beyond the scope of

        Federal Rules 26, 34 and 45, and beyond the scope of the Case Management Order entered in

        this case. Given the number of documents subject to review by Nonparty further objects on the
(
        grounds that such an instruction is unduly burdonseome.

              12.        Nonparty objects to the Subpoena in its entirety to the extent that (a) the

        discovery sought by any Request is unreasonably cumulative or duplicative, or is obtainable

        from another source that is more convenient, less burdensome, or less expensive; (b) the

        requested documents were previously produced and are currently located in the Document

        Depository; (c) Plaintiff has obtained the material sought by any request or demand in any other

        proceeding or pursuant to any other means;(d) the documents are a matter of public record or

        could be obtained from Plaintiff or its counsel's files; or (e) the burden or expense of any

        demand outweighs its likely benefit.

              13.        Nonparty objects to the term "any and "all" as used throughout the Subpoena

        as overly broad and unduly burdensome. Nonparty will make a good faith, reasonable, and

        diligent effort to locate responsive documents consistent with any General or Specific
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    Objections. In searching for documents, Nonparty will conduct a thorough and reasonable search

    for its records kept in the ordinary course of business, where information, documents or other

    things responsive to this discovery are most likely to be found. Nonparty has also sought

   . information from those persons who are most likely to 101;ow of information or documents or

    other things responsive to the Subpoena. To the extent the Subpoena asks for more and seeks

    documents that are not reasonably accessible because they cannot be retrieved, or produced

    without undue burden or cost, such as backup tapes intended for disaster recovery, Nonparty

    objects because the discovery is overly broad and unduly burdensome.

                       III.   RESPONSES AND SPECIFIC OBJECTIONS

       1. All contracts or other agreements between you and NuVasive.
    Response: Non party has no documents responsive to this request.


       2. All contracts of other agreements between you and A)phatec.
    Response: Nonparty objects to this request and as grounds asserts that Plaintiff seeks to
    discover documents which are outside the scope of this action as they have no relation to
    the claims and defenses raised in this litigation and thus not proportional to the needs of
    the case. Specifically, there are no allegations in the complaint or defenses raised
    concerning Nonparty or its relationship with Alphatec and, therefore, this request is not
    relevant to the claims and defenses of this litigation. Further, Nonparty objects to this
    request as it pertains to documents and information that contain confidential, proprietary,
    or trade secret information. Nonparty and Alphatec are competitors in the same industry
    as NuVasive and it would cause substantial economic harm to the competitive position of
    Nonparty to produce these documents. Medi-Weightloss Franchising USA, LLC v. Medi-
    Weightloss Clinic of Boca Raton, LLC, 2012 U.S. LEXIS 194594, *10 (M.D. Fla. 2012) ("A
    party has standing to object to a non-party subpoena duces tecum with respect to privilege,
    trade secrets, confidential research, commercial information, or similar grounds personal
    to a party.")    This documentation could be used by Plaintiff to gain a competitive
    advantage over Nonparty and thus resulting in significant harm.
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       3. All contracts or other agreements between you and Absolute Medical, LLC.
    Response: Nonparty objects to this request and as grounds asserts that Plaintiff seeks to
    discover contracts or other agreements that. are outside the scope of this action as they have
    no relation to the claims and defenses raised in this litigation as Plaintiff has made no
    allegations concerning Nonparty or its relationship, if any, with Absolute Medical, LLC.
    Therefore, this request is not proportional to the needs of the case. Without waiving said
    objections, Nonparty has no documents responsive to this request.


       4. All contracts or other agreements between you and Absolute Medical, Inc.
    Response: Nonparty has no documents responsive to this request.


       5. All contracts or other agreements between you and Greg Soufleris or any entity owned or
           controlled by Greg Soufleris.
    Response: Nonparty objects to this request and as grounds asserts that Plaintiff seeks to
    discover documents which are outside the scope of this' action as they have no relation to
    the claims and defenses raised in this litigation, and are thus not proportional to the needs
    of the case Specifically, there are no allegations in the complaint or defenses raised
    concerning Nonparty or its relationship, if any, with Greg Soufleris and, therefore, this
    request is not relevant to the claims and defenses of this litigation. Further, Nonparty
    objects to this request as it pertains to documents and information that contain
    confidential, proprietary, or trade secret information. Nonparty is a competitor in the same
    industry as NuVasive and it would cause substantial economic harm to the competitive
    position of Nonparty to produce these documents. Medi-Weightloss Franchising USA, LLC
    v. Medi-Weightloss Clinic of Boca Raton, LLC, 2012 U.S. LEXIS 194594, *10 (M.D. Fla.
    2012) ("A party has standing to object to a non-party subpoena duces tecum with respect to
    privilege, trade secrets, confidential research, commercial information, or similar grounds
   . personal to a party.") This documentation could be used by Plaintiff to gain a competitive
    advantage over Nonparty and thus resulting in significant harm.
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             6. All contracts or other agreements between you and Dave Hawley or any entity owned or
                    controlled by Dave Hawley.
          Response: Nonparty objects to this request and as grounds asserts that Plaintiff seeks to
          discover documents which are outside the scope of this action as they have no relation to
          the claims and defenses raised in this litigation, and are thus not proportional to the needs
          of the case. Specifically, Plaintiff filed a complaint against Dave Hawley for conversion and
          for a violation of the Florida Deceptive and Unfair Trade Practices Act ("FDUPTA").
          These causes of action have no relation to any contract or agreement that Dave Hawley
          may have entered into with Nonparty. Given the limited subject matter of these causes of
          action, the broad nature of this request appears to ·be nothing more than a fishing
          expedition to harass Nonparty and interfere with its relationship with Dave Hawley.


             7. All contracts or other agreements between you and Ryan Miller or any entity owned or
                    controlled by Ryan Miller.
          Response: Nonparty objects to this request and as gro1:1nds asserts that Plaintiff seeks to
 I'
i'        discover documents which are outside the scope of this action as they have no relation to
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          the claims and defenses raised in this litigation, and are thus not proportional to the needs
          of the case as neither Nonparty nor Ryan Miller are Defendants in this action. Given the
          limited subject matter of this case and considering the lack of allegations in the Complaint
          concerning Ryan Miller, the broad nature of this request appears to be nothing more than
          a fishing expedition to harass Nonparty and interfere with its relationship with Ryan
          Miller.


             8. All contracts or other agreements between you and Brandon Gottstein or any entity
                    owned or controlled by Brandon Gottstein.
          Response: Nonparty objects to this request and as grounds asserts that Plaintiff seeks to
          discover documents which are outside the scope of this action as they have no relation to
          the claims and defenses raised in this litigation, and are thus not proportional to the needs
          of the case as neither Nonparty nor Brandon Gottstein are Defendants in this action. Given
          the limited subject matter of this case and considering the lack of allegations in the
          Complaint concerning Brandon Gottstein, the broad nature of this request appears to be
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    nothing more than a fishing expedition to harass Nonparty and interfere with its
    relationship with Brandon Gottstein.


              9.       All records related to transactions between you and Absolute Medical, LLC
    Absolute Medical, Inc., or any other entity controlled by Greg Soufleris or Lindsey Soufleris.
                                          '
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it requests "[a]ll records related to
    transactions".       Nonparty further objects to this request and as grounds asserts that
    Plaintiff seeks to discover documents which are outside the scope of this action as they have
    no relation to the claims and defenses raised in this litigation, and are thus not proportional
    to the needs of the case.


              10.      All contracts or other agreements between you and any other participant in the
    medical device industry that are not responsive to requests 1 through 9.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it requests "[a]ll contracts or other
    agreements" between Nonparty and "any other participant in the medical device
    industry." Nonparty further objects to this request and as grounds asserts that Plaintiff
    seeks to discover documents which are outside the scope of this acti<?n as they have no
    relation to the claims and defenses raised in this litigation, and are thus not proportional to
    the needs of the case. Specifically, Plaintiff is seeking agreements between Nonparty and
    any other participant in the medical device industry besides the named Defendants in this
    action.        The broad nature of this request appears to be nothing more                th~n   a fishing
    expedition to harass Nonparty and interfere with its business relationships.


              11.      All documents related to your initial funding and/or capitalization.
    Response: Nonparty objects to this request as it is overly broad, vague, ambiguous, and
    Plaintiff seeks to discover documents that are outside the scope of this action as they have
    no relation to the claims and defenses raised in this litigation, and are thus not proportional
    to the needs of the case. Specifically, there are no allegations in the complaint concerning
    Nonparty and thus any documentation requested regarding its funding or finances is
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   -wholly outside the scope of litigation and not relevant to the claims and defenses in this
    action.


              12.   All communications between you and anyone associated with Alphatec.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it requests "[a]ll communications"
    between Nonparty and Alphatec. Nonparty further objects to this request and as grounds
    asserts that Plaintiff seeks to discover documents that are outside the scope of this action as
    they have no relation to the claims and defenses raised 'in this litigation, and are thus not
    proportional to the needs of the case. Specifically, Plaintiff is seeking communications
    between Nonparty and Alphatec, however, there are no allegations or defenses raised
    concerning the relationship, if any, between Nonparty and Alphatec. The broad nature of
    this request appears to be nothing more than a fishing expedition to harass Nonparty and
    interfere with its business relationships.


              13.   All communications between you and Dr. Paul Sawin.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it requests "[a]ll communications"
    between Nonparty and Dr. Paul Sawin. Nonparty further objects to this request and as
    grounds asserts that Plaintiff seeks to discover documents that are outside the scope of this
    action as they have no relation to the claims and defenses raised in this litigation, and are
    thus not proportional to the needs of the case. The broad nature of this request appears to
    be nothing more than a fishing expedition to harass Nonparty and interfere with its
    business relationships. Nonparty further objects as Nonparty is competitor in the same
    industry as Plaintiff and it would cause substantial economic harm to the competitive
    position of Nonparty to produce these documents. Medi-Weightloss Franchising USA, LLC
    v. Medi-Weightloss Clinic of Boca Raton, LLC, 2012 U.S. LEXIS 194594, *10 (M.D. Fla.
    2012) ("A party has standing to object to a non-party subpoena duces tecum with respect to
    privilege, trade secrets, confidential research, commercial information, or similar grounds
    personal to a party.") This documentation could be used by Plaintiff to gain a competitive
    advantage over Nonparty and thus resulting in significant harm.
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           14.    All communications between you and Dr. Rafael Allende.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it requests "[a]ll communications"
    between Nonparty and Dr. Rafael Allende. Nonparty further objects to this request and as
    grounds asserts that Plaintiff seeks to discover documents that are outside the scope of this
    action as they have no relation to the claims and defenses raised in this litigation, and are
    thus not proportional to the needs of the case. The   broa~   nature of this request appears to
    be nothing more than a fishing expedition to harass Nonparty and interfere with its
    business relationships. Nonparty further objects as Nonparty is competitor in the same
    industry as Plaintiff and it would cause substantial economic harm to the competitive
    position of Nonparty to produce these documents. Medi-Weightloss Franchising USA, LLC
    v. Medi-Weightloss Clinic of Boca Raton, LLC, 2012 U.S. LEXIS 194594, *10 (M.D. Fla.
    2012) ("A party has standing to object to a non-party subpoena duces tecum with respect to
    privilege, trade secrets, confidential research, commercial information, or similar grounds
    personal to a party.") This documentation could be used by Plaintiff to gain a competitive
    advantage over Nonparty and thus resulting in significant harm.


           15.    All communications between you and Dr. Raul Rodas
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it requests "[a]ll communications"
    between Nonparty and Dr. Raul Rodas. Nonparty further objects to this request and as
    grounds asserts that Plaintiff seeks to discover documents that are outside the scope of this
    action as they have no relation to the claims and defenses raised in this litigation, and are
    thus not proportional to the needs of the case. The broad nature of this request appears to
    be nothing more than a fishing expedition to harass Nonparty and interfere with its
    business relationships. Nonparty further objects as Nonparty is competitor in the same
    industry as Plaintiff and it would cause substantial economic harm to the competitive
    position of Nonparty to produce these documents. Medi-Weightloss Franchising USA, LLC
    v. Medi-Weightloss Clinic of Boca Raton, LLC, 2012 U:S. LEXIS 194594, *10 (M.D. Fla.
    2012) ("A party has standing to object to a non-party subpoena duces tecum with respect to
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    privilege, trade secrets, confidential research, commercial information, or similar grounds
    personal to a party.") This documentation could be used by Plaintiff to gain a competitive
    advantage over Nonparty and thus resulting in significant harm.


           16.    All communications between you and Dr. Matthew Burry.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it requests "[a]ll communications"
    between Nonparty and Dr. Matthew Burry. Nonparty further objects to this request and
    as grounds asserts that Plaintiff seeks to discover documents that are outside the scope of
    this action as they have no relation to the claims and defenses raised in this litigation, and ·
    are thus not proportional to the needs of the case. The broad nature of this request appears
    to be nothing more than a fishing expedition to harass Nonparty and interfere with its
    business relationships. Nonparty further objects as Nonparty is competitor in the same
    industry as Plaintiff and it would cause substantial economic harm to the competitive
    position of Nonparty to produce these documents. Medi-Weiglttloss Franchising USA, LLC
    v. Medi-Weiglttloss Clinic of Boca Raton, LLC, 2012 U.S. LEXIS 194594, *10 (M.D. Fla.
    2012) ("A party has standing to object to a non-party subpoena duces tecum with respect to
    privilege, trade secrets, confidential research, commercial information, or similar grounds
    personal to a party.") This documentation could be used by Plaintiff to gain a competitive
    advantage over Nonparty and thus resulting in significant harm.


           17.    All communications between you and Dr. Ryam Ilgenfritz.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it, requests "[a]ll communications"
    between Nonparty and Dr. Ryan Ilgenfritz. Nonparty further objects to this request and as
    grounds asserts that Plaintiff seeks to discover documents that are outside the scope of this
    action as they have no relation to the claims and defenses raised in this litigation, and are
    thus not proportional to the needs of the case. The broad nature of this request appears to
    be nothing more than a fishing expedition to harass Nonparty and interfere with its
    business relationships. Nonparty further objects as Nonparty is competitor in the same
    industry as Plaintiff and it would cause substantial economic harm to the competitive
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    position of Nonparty to produce these documents. Medi-Weightloss Franchising USA, LLC
    v. Medi-Weightloss Clinic of Boca Raton, LLC, 2012 U:S. LEXIS 194594, *10 (M.D. Fla.
    2012) ("A party has standing to object to a non-party subpoena duces tecum with respect to
    privilege, trade secrets, confidential research, commercial information, or similar grounds
    personal to a party.") This documentation could be used by Plaintiff to gain a competitive
    advantage over Nonparty and thus resulting in significant harm.


           18.    All contracts that have been assigned to you.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it is requesting "all contracts" assigned to
    Nonparty. Nonparty further objects to this request and as grounds asserts that Plaintiff
    seeks to discover documents which are outside the scope of this action as they have no
    relation to the claims and defenses raised in this litigation, and are thus not proportional to
    the needs of the case. The broad nature of this request appears to be nothing more than a
    fish;ng expedition to harass Nonparty and interfere with its business relationships.


           19.    All charge sheets you have submitted to Alphatec.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as NuVasive has not defined "charge
    sheets." Nonparty further objects to this request and as grounds asserts that Plaintiff seeks
    to discover documents which are outside the scope of this action as they have no relation to
    the claims and defenses raised in this litigation, and are thus not proportional to the needs
    of the case. Nonparty further objects as it has a legitimate expectation of privacy in its
    .financial information sought by Plaintiff. The broad nature of this request appears to be
    nothing more than a fishing expedition to harass Non party.


           20.    Records of all payments you have received from Alphatec.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it requests "[a]ll payments received."
    Nonparty further objects to this request and as grounds asserts that Plaintiff seeks to
    discover documents which are o·utside the scope of this action as they have no relation to
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    the claims and defenses raised in this litigation, and are thus not proportional to the needs
    of the case. The broad nature of this request appears to be nothing more than a fishing
    expedition to harass Nonparty. Nonparty further objects as Nonparty and Alphatec are
    competitors in the same industry as Plaintiff and it would cause substantial economic harm
    to the competitive position of Nonparty to produce these documents. Medi-Weightloss
    Franchising USA, LLC v. Medi-Weightloss Clinic of Boca Raton, LLC, 2012 U.S. LEXIS
    194594, *10 (M.D. Fla. 2012) ("A party has standing to object to a non-party subpoena
    duces tecum with respect to privilege, trade secrets, confidential research, commercial
    information, or similar grounds personal to a party.") This documentation could be used
    by Plaintiff to gain a competitive advantage over Nonparty and thus resulting in significant
    harm.


            21.   All commission statements you have provided to your sales representatives.
    Response: Nonparty objects to this request as it is overly broad, unduly burdensome,
    vague, ambiguous, and not reasonably specific as it requests "[a]ll commission statements"
    and Plaintiff has not defined "commission statements." Nonparty further objects to this
    request and as grounds asserts that Plaintiff seeks to discover documents which are outside
    the scope of this action as they have no relation to the ·claims and defenses raised in this
    litigation, and are thus not proportional to the needs of the case. The broad nature of this
    request appears to be nothing more than a fishing expedition to harass Nonparty and
    interfere with its relationship sales representatives. Nonparty further objects as Nonparty
    and its sales representative are competitors in the same industry as Plaintiff and it would
    cause substantial economic harm to the competitive position of Non party to produce these
    documents. Medi-Weightloss Franchising USA, LLC v. Medi-Weightloss Clinic of Boca
    Raton, LLC, 2012 U.S. LEXIS 194594, *10 (M.D. Fla. 2012) ("A party has standing to
    object to a non-party subpoena duces tecum with respect to privilege, trade secrets,
    confidential research, commercial information, or similar grounds personal to a party.")
    This documentation could be used by Plaintiff to gain a competitive advantage over
    Nonparty and thus resulting in significant harm.
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                                 CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on April 26, 2018, that I electronically transmitted a true copy
    to:

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                                                            Respectfully,

                                                            Isl Chantal M Pillay
                                                            Chantal M. Pillay
                                                            Fla. Bar No. 108369
